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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION


CAREY D. EBERT,                               §
                                              §
        Plaintiff,                            §
                                              §
v.                                            §       Civil Action No.: 4:15-cv-00225-0
                                              §
HOWARD MILLER APPEL, et al.,                  §
                                              §
        Defendants                            §


                                          ORDER

        Before the Court is Defendant John Paul DeJoria’s (“DeJoria”) Motion to Stay

Enforcement Pending Appeal (ECF No. 336), filed March 27, 2018. Plaintiff responded (ECF

No. 340) on April 5, 2018. Having considered the motion, briefing and applicable law, the Court

finds the motion should be and is hereby GRANTED in part and DENIED in part.

I.      BACKGROUND

        DeJoria asks the Court to stay enforcement of the Final Judgment pending appeal of this

case to the United States Court of Appeals for the Fifth Circuit. DeJoria Mot. Stay 1, ECF No. 336.

DeJoria asks that the Court dispense with the supersedeas bond requirement of Federal Rule of

Civil Procedure 62(d) and Local Rule 62.1 of this Court because there is a high degree of

confidence that DeJoria will be able to pay the judgment if the Court is affirmed on appeal. Id. at

1–2. Plaintiff objects to this request.

II.     LEGAL STANDARD

        Federal Rule of Civil Procedure 62(d) provides:

                If an appeal is taken, the appellant may obtain a stay by supersedeas bond,
                except in an action described in Rule 62(a)(1) or (2). The bond may be given


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               upon or after filing the notice of appeal or after obtaining the order allowing
               the appeal. The stay takes effect when the court approves the bond.

       The Fifth Circuit has stated that the “purpose of a supersedeas bond is to preserve the status

quo while protecting the non-appealing party’s rights pending appeal.” Poplar Grove Planting &

Ref. Co., Inc. v. Bache Halsey Stuart, Inc., 600 F.2d 1189, 1190–91 (5th Cir. 1979). “[T]he bond

secures the prevailing party against any loss sustained as a result of being forced to forgo execution

on a judgment during the course of an ineffectual appeal.” Id. at 1191. The nature of a supersedeas

bond’s role is to protect both parties and therefore dictates that it should not normally be dispensed

with. Id. A party seeking to forego the supersedeas bond requirement may do so by stipulation, see

L.R. 62.1, or by showing an objective “present financial ability to facilely respond to a money

judgment and present[ ] to the court a financially secure plan for maintaining that same degree of

solvency during the period of an appeal.” Id. The district court has discretion to: (1) impose the

bond if this is not shown; (2) “substitute some form of guaranty of judgment responsibility for the

usual supersedeas bond;” or (3) “fashion some other arrangement for substitute security through

an appropriate restraint on the judgment debtor’s financial dealings . . . .” Id.

       In determining whether to waive the usual requirement of the supersedeas bond, the Court

may also consider a number of relevant factors, such as: “(1) the complexity of the collection

process; (2) the amount of time required to obtain a judgment; (3) the availability of funds to pay

the judgment; . . . and [(4)] whether the debtor's financial condition is so precarious that the

requirement to post a bond would place other creditors in an insecure position.” United States v.

Loftis, 3:06-cv-1633-P, 2009 WL 10678613, at *2 (N.D. Tex. Aug. 3, 2009); see also Dillon v.

City of Chicago, 866 F.2d 902, 904–05 (7th Cir. 1988).

       Local Rule 62.1 governs the process and amount of a supersedeas bond in the Northern

District of Texas. It provides:



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               Unless otherwise ordered by the presiding judge, a supersedeas bond
               staying execution of a money judgment shall be in the amount of the
               judgment, plus 20% of that amount to cover interest and any award of
               damages for delay, plus $250.00 to cover costs. The parties may waive the
               requirement of a supersedeas bond by stipulation.


III.   ANALYSIS

       DeJoria was found jointly and severally liable for $6,900,000.00 for his role in Matthew

Cohen’s breach of fiduciary duty. DeJoria was also found personally liable for $1,500,000.00 for

his own breach of fiduciary duty; and personally liable for exemplary damages in the amount of

$1,000,000.00. See Final J. 2, ECF No. 332. The amount of the judgment in this case against

DeJoria is $9,400,000.00. Therefore, in order to stay execution of the judgment, DeJoria must post

a supersedeas bond in that amount, plus 20% to cover interest and $250.00 to cover costs, for a

total of $11,280,250.00. N.D. TEX. L. CIV. R. 62.1.

       The Court denies DeJoria’s request to waive the supersedeas bond requirement for the

following reasons. First, DeJoria failed to present sufficient evidence to justify departure from the

requirements of Local Rule 62.1 The only evidence DeJoria offered in support of his motion is a

conclusory affidavit that states “[w]hile I would prefer to keep the precise details of my financial

affairs confidential, I hereby confirm that my personal net worth is in fact well in excess of a billion

dollars.” DeJoria Mot. Stay, Ex. A (DeJoria Aff.), ECF No. 336-1. DeJoria does not present

irrefutable proof—in the form of audited financial statements, tax receipts, appraised value of real

estate or other holdings, etc.—that demonstrates “present financial ability to facilely respond to a

money judgment.” Poplar Grove, 600 F.2d at 1191. Second, DeJoria’s motion fails to present the

Court with “a financially secure plan for maintaining that same degree of solvency during the

period of an appeal”, id., or discuss the five factors relevant to the Court’s consideration of waiver

of the supersedeas bond requirement. Loftis, 2009 WL 10678613, at *2. Because DeJoria has failed

to meet his burden to show why the Court should depart from the usual requirement, and the Court

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declines to do so absent a clear showing of financial security adequate to protect Plaintiff’s rights,

DeJoria’s motion is denied in part. Cf. Halliburton Energy Servs., Inc. v. NL Indus., et al., Nos. H-

05-4160, H-06-3504, 2008 WL 2787247, at *2 (S.D. Tex. July 16, 2008) (failing to dispense with

the bond requirement where company provided insufficient evidence of its financial condition and

otherwise did not provide a financially secure plan to maintain solvency). DeJoria is therefore

ORDERED to obtain a supersedeas bond consistent with the requirements of Federal Rule of Civil

Procedure 62(d) and Local Rule 62.1.

       Because the final judgment in this case is of a purely monetary nature, the Court does find

that a stay is necessary pending the decision of the Fifth Circuit. But under Rule 62(d), “the stay

takes effect when the court approves the bond.” FED. R. CIV. P. 62(d). Because a bond has not yet

posted, and the Court has not yet approved it, this requirement cannot yet be satisfied. The parties

are ORDERED to comply with the requirements of all federal and local rules to obtain a stay

consistent with this Order. The judgment entered against DeJoria on March 7, 2018, will be stayed

upon the posting of a supersedeas bond in the amount of $11,280,250.00, which covers the

monetary award stated in the judgment, interest and costs.

IV.    CONCLUSION

       Based on the foregoing, the Court finds that DeJoria’s Motion to Stay Enforcement

Pending Appeal (ECF No. 336), filed March 27, 2018, should be and is hereby GRANTED in

part and DENIED in part.

       DeJoria is ORDERED to comply with the supersedeas bond requirement of Federal Rule

of Civil Procedure 62(d) and Local Rule 62.1.

       SO ORDERED on this 2nd day of May, 2018.



                                                      _____________________________________
                                                      Reed O’Connor
                                                      UNITED STATES DISTRICT JUDGE
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